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            EXHIBIT M
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                                Volume: I
                                Pages: 1 to 199
                                Exhibits: See Index
                  UNITED STATES DISTRICT COURT
                For the District of Massachusetts
               Civil Action No. 1:19-CV-11605-WGY

                                                   )
     GIGI KAI ZI CHAN,                             )
                   Plaintiff,                      )
                                                   )
               vs.                                 )
                                                   )
     WELLINGTON MANAGEMENT COMPANY, LLP            )
     and CHARLES ARGYLE,                           )
                   Defendants.                     )
                                                   )

                     ZOOM VIDEO DEPOSITION OF CHARLES
          ARGYLE, a witness called on behalf of the
          Plaintiff, taken pursuant to the Federal Rules
          of Civil Procedure, before Susan E. DiFraia,
          Certified Shorthand Reporter and Notary Public
          in and for the Commonwealth of Massachusetts,
          via Zoom Video, on October 28, 2020, commencing
          at 10:00 a.m.
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                                                                   Page 2
 1
 2        APPEARANCES:
 3        HARTLEY MICHON ROBB
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                                                                       Page 3
 1
                           E X A M I N A T I O N S
 2
     Witness                                                           Page
 3   Charles Argyle
     Direct Examination            BY MR. HANNON                              4
 4
 5
                               E X H I B I T S
 6
     Exhibit                       Description                     Page
 7   1                             Bates DEF 00002932              4
     2                             Bates DEF 00012683              4
 8   3                             Bates DEF 00010672              4
     4                             Bates DEF 00001005              4
 9   5                             Bates DEF 00001971              4
     6                             Bates DEF 00007568              4
10
11        (All original exhibits held by Attorney Hannon)
12
13
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16
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                                                                   Page 4
 1
                       P R O C E E D I N G S
 2
 3                   (Documents marked as Argyle
 4             Exhibit 1 to 6 for identification)
 5                         CHARLES ARGYLE
 6        a witness called for examination by counsel for
 7        the Plaintiff, having been satisfactorily sworn
 8        by the Notary Public, was examined and
 9        testified as follows:
10                       DIRECT EXAMINATION
11             BY MR. HANNON:
12   Q.   Would please state your full name.
13   A.   Charles Sean Argyle.
14   Q.   And, Mr. Argyle, have you ever had the pleasure
15        of sitting for a deposition before?
16   A.   Yes.
17   Q.   How many times?
18   A.   Once.
19   Q.   And what type of dispute did that involve?
20   A.   It was a discrimination dispute.
21   Q.   And what was your involvement in that dispute?
22   A.   I was part of the -- I wasn't named in the
23        dispute.    I was part of the -- I was a manager
24        at Wellington Management in the group where
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                                                                   Page 5
 1        there was the dispute.        I don't know the right

 2        terminology, I'm sorry.

 3   Q.   No worries.

 4                And approximately when was it that you

 5        sat for a deposition in that dispute?

 6   A.   I would say it was approximately 14 years ago,

 7        15, 14 years ago.

 8                MR. PATERNITI:      Hey, Patrick, before

 9                this goes further, I just want to be

10                sure we've got stipulations on the

11                record.

12                MR. HANNON:      Sure.

13                MR. PATERNITI:      So all objections except

14                as to form and motions to strike

15                reserved and read and sign, waive the

16                notary.

17                MR. HANNON:      Agreed.

18                MR. PATERNITI:      And just to get this out

19                of the way, the standing objection that

20                I would propose for the reference to

21                Wellington so that I don't have to

22                object every time you use the word

23                "Wellington" and create a record about

24                the vagueness of the term or the
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                                                                   Page 41
 1   A.   She took over the approach.

 2   Q.   Who did she take over that approach from?

 3   A.   Again, if memory serves me correctly, it was

 4        co-managed by Vera Trojan, who was the leader

 5        of our equity management team and a lady called

 6        Tan Lay Keong who was a -- a regional analyst

 7        in Singapore.

 8   Q.   How did it come about that Ms. Muniey took over

 9        the China Opportunities approach?

10   A.   It was my decision.       I remember that.       I think

11        Mrs. Trojan was supportive of the decision in

12        giving Bo Muniey the opportunity to do so.               It

13        made sense given Bo's -- it made sense in

14        developing Bo's talent and skill set.            And I

15        had spent the previous few months getting to

16        know a small investment team in Singapore, and

17        I had reached the conclusion that Tan Lay Keong

18        was -- was in a better position to be an

19        analyst and not a portfolio manager.

20   Q.   So you said it was your decision to have

21        Ms. Muniey take over the China Opportunities

22        approach, did I hear that correctly?

23   A.   Yes, that's my recollection.

24   Q.   And you made that decision before you moved to
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                                                                   Page 42
 1        Singapore?

 2   A.   If my memory is right, that would have been

 3        before 2008 being it would have been before I

 4        moved to Singapore.

 5   Q.   Prior to making that decision had Ms. Muniey

 6        expressed a desire to become a portfolio

 7        manager?

 8   A.   I can't recall.

 9   Q.   At the time Mrs. Muniey oversaw the China

10        Opportunities approach, what were its assets

11        under management?

12   A.   I honestly can't recall.

13   Q.   Do you have a sense if it was --

14   A.   I --

15   Q.   I'm sorry.     Go ahead.

16   A.   No, I was going to -- sorry, I should let you

17        ask your question first.        I was -- if I was to

18        bucket things, it would be in the ten to 100

19        million range but it -- probably toward the

20        lower end of that range, but I shouldn't guess.

21   Q.   Prior to taking the responsibility for the

22        China Opportunities, had Ms. Muniey previously

23        served as a portfolio manager?

24   A.   No.
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                                                                   Page 43
 1   Q.   Would you describe Ms. Muniey's role when she

 2        took over the China Opportunities approach as

 3        that of a portfolio manager?

 4                MR. PATERNITI:      Objection.      Go ahead.

 5   A.   I would say Ms. Muniey was balancing two roles;

 6        she was serving as a team analyst for our

 7        emerging market equity approach, and at the end

 8        of the day for the clients of that approach,

 9        and with respect to the China Opportunities

10        portfolio, she was serving as portfolio

11        manager.

12   Q.   (By Mr. Hannon)      And when she became portfolio

13        manager for China Opportunities approach, was

14        she managing client money or was that all

15        internal Wellington money?

16   A.   If my memory is correct, the China

17        Opportunities approach was in the Wellington

18        Retirement Plan, is still in the Wellington

19        Retirement Plan but was at the time in the

20        Wellington Retirement Plan, which would have

21        meant she was managing external money spent for

22        that -- that is a -- that's an entity that's,

23        you know, its people's money.

24   Q.   When you say "the Wellington Retirement Plan,"
Case 1:19-cv-11605-WGY Document 68-2 Filed 04/01/21 Page 10 of 21


                                                                    Page 50
 1        my opinion, appropriately impressed with her

 2        growth and development and potential as a

 3        portfolio manager and felt that she should be

 4        the -- the center point of our -- of where we

 5        go and actually that we would cease to look

 6        externally and that we would focus on Bo being

 7        the centerpiece of our China equities strategy

 8        going forward.

 9   Q.   Who was involved in the decision to make

10        Ms. Muniey the centerpiece of China equities

11        strategy going forward?

12   A.   Involved in the decision?         It would have been

13        me, Tom Baxter, who by that time was in Hong

14        Kong.    Vera Trojan would have certainly been

15        informed of the decision as Bo's team leader

16        and Bo at some point, you know, Is this what

17        you want to do?

18   Q.   Anyone else?

19   A.   Not that I recall.

20   Q.   And who actually made the decision to make

21        Ms. Muniey the center of China equities

22        strategy?

23   A.   My recollection is that it was me.

24   Q.   When this decision was made, did Ms. Muniey's
Case 1:19-cv-11605-WGY Document 68-2 Filed 04/01/21 Page 11 of 21


                                                                    Page 51
 1        role change at all?

 2                 MR. PATERNITI:      Objection.     Go ahead.

 3   A.   Not meaningfully.

 4   Q.   In any way?

 5   A.   I would say ever year ensuing, months,

 6        quarters, her -- she would have more access or

 7        more meetings with clients.

 8   Q.   Any other changes to her role as a consequence

 9        to this decision you've referenced?

10   A.   At some point, and the timing was not clear to

11        me, she may have had a dedicate resource, a

12        research associate.

13   Q.   Any other changes?

14   A.   None that I can recall.

15   Q.   Was there any kind of announcement at

16        Wellington where the discussion was made to

17        make Ms. Muniey the center piece of its China

18        equities strategy?

19   A.   No, that's not typically the way we do things,

20        no.

21   Q.   Was Ms. Muniey given any sort of new title or

22        anything to indicate to others that she had

23        been selected as the center piece of

24        Wellington's equities strategy?
Case 1:19-cv-11605-WGY Document 68-2 Filed 04/01/21 Page 12 of 21


                                                                    Page 76
 1        was being hired into.

 2   Q.   And is it unusual at Wellington for portfolio

 3        managers to -- I'm sorry, for equity analysts

 4        to move into the role of portfolio managers?

 5   A.   I'm going to -- I'll ask you a question but

 6        before I do so, we use the term "equity

 7        analyst" in more than one group.           So can we

 8        limit the term "equity analyst," equity analyst

 9        and GEPM and any predecessor because I don't

10        want to get confused about our limited research

11        group.

12   Q.   Yes, I think that makes sense.

13   A.   It's not unusual for equity analysts at

14        Wellington to become equity portfolio managers,

15        not all equity analysts become portfolio

16        managers.

17   Q.   And is it unusual for equity analysts within

18        GEPM to be in a dual role where they're both

19        serving as an analyst supporting a team but

20        also serving as a portfolio manager in addition

21        to that?

22   A.   That's not unusual.

23   Q.   When you hired Ms. Chan you understood that she

24        wanted to work as a portfolio manager, right?
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                                                                Page 115
 1        directly?

 2   A.   I don't recall.      I do recall that he expressed

 3        it indirectly.

 4   Q.   How did he express it indirectly?

 5   A.   Through feedback.

 6   Q.   Okay.    Feedback to who?

 7   A.   Feedback -- feedback to our annual feedback

 8        poll, survey whatever you -- yes.           Poll.

 9   Q.   Would that be part of the peer review process?

10   A.   Yes.

11   Q.   Besides the peer review feedback process, any

12        other feedback you recall him providing you of

13        Ms. Chan?

14   A.   I can recall Mr. Boselli providing feedback on

15        me that I wasn't doing my job well enough

16        because Ms. Chan was still in Hong Kong.

17   Q.   And when did he provide that feedback?

18   A.   It wasn't provided directly to me, so I'm not

19        exactly sure.

20   Q.   How did you hear about it?

21   A.   In my year-end review.

22   Q.   And who provided that year-end review?

23   A.   Mr. Swords.

24   Q.   Which year?
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                                                                Page 116
 1   A.   2016.

 2   Q.   How did Mr. Swords communicate to you that

 3        Mr. Boselli had provided this feedback?

 4   A.   He said, There's a lot of feedback on you.

 5        Gave me some paper.

 6   Q.   What was the paper that Mr. Swords provided you

 7        with respect to Mr. Boselli's feedback?

 8   A.   It was -- it didn't mention Ms. Chan by name, I

 9        remember that, because I remember the feedback,

10        but it was clear what he alluded to when he

11        matched it to Mr. Boselli's feedback in the

12        peer process.

13   Q.   And how was it clear?

14   A.   It said something along the lines of what -- we

15        have a -- Charles has an issue in Hong Kong he

16        has to deal with.       I can't remember the exact

17        words, but if you triangulate that against the

18        feedback he provided in the system, that's how

19        I remember that it was in the system.            It was

20        clear that that's what it pertained to.

21   Q.   Did you and Mr. Swords discuss this feedback

22        from Mr. Boselli at all?

23   A.   No, we had a lot of things at all times to

24        discuss with Mr. Swords and I would not say
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                                                                Page 145
 1   Q.   After the sentence we've been looking at,

 2        Mr. Matiko goes on to write, "Once again I

 3        think you and I would agree with this in

 4        principle."

 5                 Do you see that?

 6   A.   Yes.

 7   Q.   Would you agree with that preceding sentence in

 8        principle?

 9   A.   No.

10   Q.   Did you ever tell Mr. Matiko that?

11   A.   I don't recall.

12   Q.   And if you scroll up to your e-mail to

13        Mr. Matiko, you outline here in bullet points

14        what you expect to cover in your conversation

15        with Ms. Chan; is that correct?

16   A.   Yes.

17   Q.   Does this accurately reflect to the best of

18        your knowledge what you conveyed to Ms. Chan

19        when you met with her in May of 2016?

20   A.   I don't recall that conversation.

21   Q.   If you were concerned as of December 2015 with

22        Ms. Chan's contribution to the EMO team, can

23        you explain to me why one of these bullets

24        wouldn't have been asking her to improve that
Case 1:19-cv-11605-WGY Document 68-2 Filed 04/01/21 Page 16 of 21


                                                                Page 146
 1        contribution.

 2   A.   One of the bullets does say the focus should be

 3        on alpha in China Growth in EMO.           And the only

 4        way one generates alpha in EMO is by having a

 5        meaningful contribution.         So I guess I don't

 6        understand the premise of the question.

 7   Q.   So your testimony is, is that was your way of

 8        telling her you want her to improve her

 9        contribution to EMO?

10   A.   These were my notes for the conversation and

11        I'm telling you that based on my notes for the

12        conversation that is likely, I can't remember,

13        how I articulated -- I can't remember how I

14        would have articulated precisely around

15        importance of her ongoing focus on EMO, but

16        this would have been sufficient for my notes

17        for the meeting to remind myself, not

18        necessarily that I would have needed reminding

19        but -- to stress to Gigi, Ms. Chan, that

20        focusing on her role and responsibility in EMO

21        was still critically important.

22   Q.   Who was brought out of the EMO team to replace

23        Ms. Chan when she was terminated?

24                 MR. PATERNITI:      Objection.     Go ahead.
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                                                                Page 166
 1   Q.   Did you think she wouldn't succeed as this --

 2        as a spin-out team?

 3   A.   I was not sufficiently convinced that she would

 4        succeed as a spin-out team.

 5   Q.   But there were opportunities for such a spin

 6        out, correct?

 7   A.   I don't know what you mean by "opportunities."

 8   Q.   We've talked about the investment approach that

 9        Mr. Pender was interested in, right?

10   A.   There may have been -- I've seen many, many

11        clients, institutional clients engage in many

12        conversations, some of which last for years and

13        don't come to anything.        So there may have been

14        opportunities, there may not be opportunities,

15        and I today rely on 15 years of judgment with

16        respect to the business case and with respect

17        to the individual, and make a decision.

18   Q.   In addition to the vehicle that Mr. Pender was

19        interested in, there was also interest in a

20        potential mandate with mid shank -- Min Shang,

21        M-I-N, S-H-A-N-G; is that right?

22                 MR. PATERNITI:      Objection.

23   A.   Yes, there was conversations around a potential

24        mandate with Min Shang.
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                                                                Page 167
 1   Q.   (By Mr. Hannon)      And that was something Alex

 2        Quian had surfaced, correct?

 3   A.   I believe he surfaced it.         I was certainly on

 4        point with it.

 5   Q.   And Wellington made the decision not to pursue

 6        that, correct?

 7   A.   Correct.

 8   Q.   And is that the same reason why Wellington

 9        decided not to pursue the potential opportunity

10        with Mr. Pender?

11                 MR. PATERNITI:      Objection.

12   A.   Yes and -- so yes, Mrs. Clan was finding it --

13        that she didn't want to or she was finding it

14        very difficult to balance her responsibilities

15        as an emerging market opportunities team

16        analyst with being a China Growth manager.                Min

17        Shang was -- knowing that Wellington had an

18        approach like that, and adding a second Asia

19        growth or their portfolio management growth

20        where she was a fiduciary to those clients

21        seemed inconsistent or would be inconsistent

22        with the feedback we were providing at the

23        time.

24                 And frankly, by this point in time we
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                                                                Page 168
 1        had reached the point as was made very clear in

 2        an e-mail from me, if she could fulfill her

 3        responsibilities on American market

 4        consistencies advertised, then the China Growth

 5        portfolio would be closer.         I mean, that was

 6        made very clear to me.        So adding a different

 7        mandate made no sense.

 8                 Furthermore, it was clear at that point

 9        to me and to Ms. Chan from our conversation and

10        from an e-mail with her that, you know, she had

11        to have a change in how she perceived her role

12        and her engagement with the firm, her attitude,

13        to sum it all up in one word, and I'm not going

14        to engage in a fiduciary relationship with a

15        client telling them this is the portfolio

16        manager, when that portfolio manager might not

17        be here six to 12 months from now.

18                 Furthermore the same portfolio manager

19        or the same individual, Ms. Chan was telling me

20        constantly her phone was ringing with offers to

21        go elsewhere very clearly, as a threat to me,

22        saying, Hey, I don't have to be here, I could

23        go anywhere I want.

24                 So I actually believed it would have not
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                                                                Page 169
 1        been my fiduciary responsibility to pursue the

 2        opportunity with Min Shang or with Ms. Chan.

 3   Q.   You mentioned balancing responsibilities.             Now

 4        one thing that happened in late 2016 is

 5        Ms. Chan had a child, right?

 6   A.   Had a child, you said?

 7   Q.   Yes.

 8   A.   Yes.

 9   Q.   And when you spoke to her on November 2, 2016,

10        she was actually eight months pregnant at that

11        time, right?

12   A.   I don't know how many months pregnant she was,

13        but she was pregnant.

14   Q.   And you recognized that a very short time

15        thereafter she was going to be going on

16        maternity leave, right?

17   A.   I believe she went on maternity leave in mid

18        December.

19   Q.   And what was it -- was it your understanding

20        that she wasn't going to work while on

21        maternity leave?

22   A.   I certainly feel as if I impressed upon her

23        that there was no requirement for her to work

24        while on maternity leave.         She intimated that
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                                                                Page 187
 1   Q.   And do you recall that you did in fact meet

 2        with Mr. Matiko and Mr. Philip in Boston in

 3        early June 2017?

 4   A.   I don't recall the meeting, but I know it

 5        occurred.

 6   Q.   Okay.    So you don't recall what specifically

 7        was discussed at the meeting.

 8   A.   No, I know what was discussed but I don't

 9        recall what was discussed.         I mean, I remember

10        the big picture but I don't remember the

11        specifics, and I don't remember being in the

12        room or the -- or whatever it -- you know,

13        so --

14   Q.   Do you recall if anyone brought any materials

15        to review during that meeting?

16   A.   I don't recall.

17   Q.   Do you recall if anyone took any notes at that

18        meeting?

19   A.   Anyone, sorry?

20   Q.   Took any notes of that meeting, do you recall?

21   A.   I don't recall.

22   Q.   Do you recall what you did to prepare for that

23        meeting?

24                 MR. PATERNITI:      Objection.     Go ahead.
